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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
THE CONTAINER STORE GROUP, INC., et al., : Case No. 24-90627 (ARP)
                                                             :
                    Debtors.1                                : (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

                    EMERGENCY MOTION OF DEBTORS
                 FOR ENTRY OF AN ORDER (I) AUTHORIZING
           THE DEBTORS TO PAY PREPETITION TRADE CLAIMS IN THE
       ORDINARY COURSE OF BUSINESS AND (II) GRANTING RELATED RELIEF

     Emergency relief has been requested. Relief is requested not later than 1:00 p.m.
     (prevailing Central Time) on December 23, 2024.
     If you object to the relief requested or you believe that emergency consideration is not
     warranted, you must appear at the hearing if one is set, or file a written response prior to
     the date that relief is requested in the preceding paragraph. Otherwise, the Court may
     treat the pleading as unopposed and grant the relief requested.
     A hearing will be conducted on this matter on December 23, 2024 at 1:00 p.m. (prevailing
     Central Time) in Courtroom 400, 4th floor, 515 Rusk Street, Houston, Texas 77002.
     Participation at the hearing will only be permitted by an audio and video connection.
     Audio communication will be by use of the Court’s dial-in facility. You may access the
     facility at 832-917-1510. Once connected, you will be asked to enter the conference room
     number. Judge Perez’s conference room number is 282694. Video communication will
     be by use of the GoToMeeting platform. Connect via the free GoToMeeting application
     or click the link on Judge Perez’s home page. The meeting code is “JudgePerez”. Click
     the settings icon in the upper right corner and enter your name under the personal
     information setting.
     Hearing appearances must be made electronically in advance of both electronic and in-
     person hearings. To make your appearance, click the “Electronic Appearance” link on
     Judge Perez’s home page. Select the case name, complete the required fields and click
     “Submit” to complete your appearance.

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      The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
      The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio Manufacturing Inc. (4763);
      C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The Debtors’ mailing address
      is 500 Freeport Parkway, Coppell, TX 75019.
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       The above-captioned debtors in possession (collectively, the “Debtors”) respectfully state

as follows in support of this motion (this “Motion”):

                                     RELIEF REQUESTED

       1.      By this Motion, and consistent with the unimpaired treatment of Allowed General

Unsecured Claims under the Plan (each as defined herein), filed contemporaneously herewith, the

Debtors seek entry of an order substantially in the form attached hereto (the “Proposed Order”),

(i) authorizing the Debtors, in their sole discretion and in the ordinary course of business, to pay

in full allowed prepetition claims of creditors (the “Trade Creditors”) that provide goods and/or

services related to the Debtors’ operations (collectively, the “Trade Claims”), and (ii) granting

related relief. The Debtors estimate, that as of the Petition Date (as defined below), the aggregate

amount of the Trade Claims is approximately $51.2 million.

       2.      The Debtors further request that the Court confirm the administrative priority status

of all undisputed obligations of the Debtors owing to vendors and suppliers arising from the

postpetition delivery of goods and/or provision of services ordered before the Petition Date under

the Prepetition Purchase Orders (as defined below) and authorize the Debtors to pay such

obligations in the ordinary course of business.

                                 JURISDICTION AND VENUE

       3.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction to consider this Motion under 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b) and the Court may enter a final order consistent with

Article III of the United States Constitution.

       4.      Venue of these cases and this Motion in this district is proper under 28 U.S.C.

§§ 1408 and 1409.




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        5.       The statutory and legal predicates for the relief requested herein are sections 105(a),

362(d), 363(b), 503, 507(a), 1107(a), and 1108 of title 11 of the United States Code, 11 U.S.C. §§

101–1532 (the “Bankruptcy Code”), Rules 6003 and 6004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), Rule 9013-1 of the Bankruptcy Local Rules for the Southern

District of Texas (the “Bankruptcy Local Rules”), and the Procedures for Complex Cases in the

Southern District of Texas (the “Complex Case Procedures”).

                                              BACKGROUND

        6.       On December 22, 2024 (the “Petition Date”), the Debtors filed voluntary petitions

in the Court commencing cases for relief under chapter 11 of the Bankruptcy Code (the “Chapter

11 Cases”). The Debtors continue to manage and operate their businesses as debtors in possession

under sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been requested

and no committee has been appointed in the Chapter 11 Cases.

        7.       The factual background regarding the Debtors, including their business operations,

their capital and debt structures, and the events leading to the filing of the Chapter 11 Cases, is set

forth in detail in the Declaration of Chad E. Coben, Chief Restructuring Officer, in Support of

Chapter 11 Petitions and First Day Motions, filed contemporaneously herewith (the “First Day

Declaration”), which is fully incorporated herein by reference.2

        8.       Contemporaneously with the filing of the Motion, the Debtors filed a motion with

the Court pursuant to Bankruptcy Rule 1015(b) requesting joint administration of the Chapter 11

Cases for procedural purposes only.

        9.       The Chapter 11 Cases are “prepackaged” cases commenced for the purpose of

implementing agreed restructuring and recapitalization transactions among the Debtors and their


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    Capitalized terms used but not defined herein have the meanings given to them in the First Day Declaration.




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key stakeholders. Prior to the Petition Date, the Debtors entered into that certain Transaction

Support Agreement, dated as of December 21, 2024 (as may be amended, modified or

supplemented, the “Transaction Support Agreement”) with lenders that collectively hold over

90% of the outstanding principal amount of term loans under the Debtors’ Term Loan Facility

(the “Consenting Term Lenders”), including those certain members of an ad hoc term lender

group represented by Paul Hastings LLP (the “Ad Hoc Group”). The holders of the outstanding

principal amount of asset-backed loans under the Debtors’ Prepetition ABL Facility (the

“Prepetition ABL Lenders”) are not parties to the Transaction Support Agreement.

       10.     Contemporaneously herewith, the Debtors will file a prepackaged chapter 11 plan

of reorganization reflecting the terms of the Transaction Support Agreement (as may be amended,

modified or supplemented, the “Plan”), along with (a) a corresponding disclosure statement (as

may be amended, modified or supplemented, the “Disclosure Statement”) and (b) a motion

seeking, among other things, (i) conditional approval of the Disclosure Statement, (ii) approval of

the solicitation and notice procedures, and (iii) to schedule a combined hearing to consider

approval of the Disclosure Statement on a final basis and confirmation of the Plan.

       11.     The Plan contemplates that all Allowed General Unsecured Claims (as defined in

the Plan) will be paid in full or will otherwise be unimpaired and “ride through” the Chapter 11

Cases, and brings in at least approximately $60 million of new liquidity for the Debtors to fund go

forward operations. The Debtors are seeking confirmation of the Plan as quickly as the Court’s

schedule and requisite notice periods will permit to implement the proposed restructuring and

recapitalization transactions under the Transaction Support Agreement and Plan.




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             THE DEBTORS’ BUSINESS MODEL AND TRADE CREDITORS

I.     THE DEBTORS’ BUSINESS MODEL

       12.     As set forth in detail in the First Day Declaration, the Debtors are a leading specialty

retail chain offering storage and organizational products, operating over 100 store locations across

the United States. The Trade Creditors, who are located both domestically and in numerous

foreign jurisdictions, provide the Debtors with the essential goods and services that facilitate the

Debtors’ operations and the Debtors’ ability to serve their customer base. The Trade Claims

include, among other things, claims of:

               a.      suppliers of inventory sold in the Debtors’ stores and online, and other
                       materials used to facilitate the sale of inventory;

               b.      service providers who provide the Debtors with certain services that are
                       critical to the Debtors’ upkeep of their business infrastructure, such as IT
                       software and consulting, marketing services, cleaning services, and
                       inventory reconciliation services;

               c.      vendors who provide essential maintenance services with respect to the
                       operational needs of the Debtors;

               d.      common carriers operated by third parties, including ocean freight, trucking
                       services, air transport, rail, and contract carriers;

               e.      third-party advertising platforms and providers of advertising and
                       marketing services, including search-engine optimization, search-engine
                       marketing, social-media optimization, and other digital-marketing services;

               f.      third-party toll processors and manufacturers to whom the Debtors supply
                       (either directly or through third parties) equipment or other property which
                       such vendors use to package, and/or produce and manufacture the Debtors’
                       final products;

               g.      third-party installation and organization service providers with whom the
                       Debtors contract; and

               h.      other business services vendors and other general service and operational
                       providers that help facilitate the Debtors’ sales and/or operations that are
                       not addressed in other first day motions.




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II.       THE DEBTORS’ TRADE CLAIMS

          13.      The Debtors incur numerous fixed, liquidated, and undisputed payment obligations

to the Trade Creditors in the ordinary course of business. The Debtors estimate that, as of the

Petition Date, there is approximately $51,233,000 outstanding on account of undisputed Trade

Claims which are comprised of:

                   a.       Prepetition claims held by vendors who provide inventory (“Inventory
                            Goods Vendors” and the claims of Inventory Vendors, the “Inventory
                            Goods Vendor Claims”) totaling approximately $23,783,000 as of the
                            Petition Date;

                   b.       prepetition claims held by suppliers, service providers, and distributors
                            based outside the United States (“Foreign Vendors” and the claims of
                            Foreign Vendors, the “Foreign Vendor Claims”) totaling approximately
                            $6,219,000 as of the Petition Date;

                   c.       prepetition claims held by common carriers, warehousemen, and toll
                            processors in each case that may have or may be capable of asserting liens
                            against the Debtors’ property (collectively, the “Lienholders,” and the
                            claims of Lienholders, the “Lienholder Claims”)3 totaling approximately
                            $4,342,000 as of the Petition Date; and

                   d.       prepetition claims held by all other general unsecured creditors, including
                            those that provide supplies and/or services utilized by the Debtors, such as
                            professionals utilized in the ordinary course and not otherwise retained
                            pursuant to a separate order of the Bankruptcy Court (the “Other Trade
                            Claims”) totaling approximately $16,889,000 as of the Petition Date.

          14.      As set forth in the following chart, the Debtors seek authorization to pay, in the

ordinary course of business, undisputed liquidated prepetition amounts owing on account of Trade

Claims. The Debtors estimate that as of the Petition Date the amount of outstanding Trade Claims

is approximately $51.2 million:

                            Category                                 Estimated Amount
             Inventory Goods Vendor Claims                                $23,783,000


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      The Debtors do not concede that any liens described in this Motion are valid, and the Debtors expressly reserve
      the right to contest the extent, validity, and perfection of any and all such liens, and to seek avoidance thereof.




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                      Category                            Estimated Amount
         Foreign Vendor Claims                                $6,219,000
         Lienholder Claims                                    $4,342,000
         Other Trade Claims                                   $16,889,000
         Total Trade Claims:                                  $51,233,000

       15.     The Debtors are not seeking to pay these amounts immediately or in one lump sum;

rather, the Debtors intend to pay these amounts as they become due and payable in the ordinary

course of the Debtors’ business, subject to any trade agreements with the Trade Creditors.

Concurrently with the filing of this Motion, the Debtors have filed the Emergency Motion of

Debtors for Interim and Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Financing

and (B) Use Cash Collateral, (II) Granting (A) Liens and Providing Superpriority Administrative

Expense Status and (B) Adequate Protection to Prepetition Secured Creditors, (III) Modifying

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “DIP

Motion”) which, if and when granted, in addition to the cash generated by the Debtors’ business,

will provide the necessary additional liquidity for the Debtors to continue operating in the ordinary

course of business. As set forth in the budget (the “Budget”) annexed to the DIP Motion, the

Debtors’ proposed expenditures include payment of the Trade Claims the Debtors are seeking

authority to pay pursuant to this Motion. The Debtors believe they will have ample liquidity to

pay the Trade Claims in the ordinary course during the pendency of these Chapter 11 Cases.

               Conditions to Payment of Trade Claims in the Ordinary Course

       16.     Unless otherwise ordered by the Court, the Debtors request authority to pay all

Trade Claims on the following terms and conditions:

               a.      The Debtors, in their sole discretion, may require, as a condition to receiving
                       payment on account of Trade Claims, that Trade Creditors agree to continue
                       to provide goods and/or services to the Debtors on terms that are as good as
                       or better than the terms and conditions that existed 120 days prior to the


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                      Petition Date (collectively, the “Customary Trade Terms”) during the
                      pendency of these Chapter 11 Cases. If, after receiving a payment under
                      the Proposed Order, a Trade Creditor ceases to provide Customary Trade
                      Terms, then the Debtors may, in their sole discretion, seek an order from
                      the Court to (i) determine that any payment on a prepetition claim received
                      by such Trade Creditor be an unauthorized voidable postpetition transfer
                      under section 549 of the Bankruptcy Code that the Debtors may recover in
                      cash or goods, or (ii) deem such payment to apply instead to any postpetition
                      amount that may be owing to such Trade Creditor.

               b.     Before making a payment to a creditor under the Proposed Order, the
                      Debtors may, in their discretion, settle all or some of the prepetition claims
                      of such creditor for less than their face amount without further notice or
                      hearing.

                          Treatment of Trade Claims Under the Plan

       17.     The goal of the Debtors’ Chapter 11 Cases is to de-lever the Debtors’ balance sheet

with minimal interruption to their business operations. Disruption to the Debtors’ timely receipt

of necessary goods and services could negatively impact the Debtors’ operations and their ability

to meet their commitments in the ordinary course, which could irreparably harm their businesses,

damage their market reputation, and possibly result in a loss of customers and market share, all to

the determinant of the Debtors’ stakeholders. Accordingly, it is imperative that the Debtors

maintain positive relationships with the providers of the goods and services that are essential to

their business operations throughout these cases. The terms of the Plan reflect this objective by

providing that Trade Creditors are unimpaired. Accordingly, the relief requested in this Motion

furthers the Debtors’ overarching restructuring goals to maximize the value of the estates without

prejudice to the Debtors’ stakeholders, all in accordance with the Plan.

       18.     Furthermore, the Plan contemplates that substantially all executory contracts and

unexpired leases to which any of the Debtors are parties, and which have not expired by their own

terms on or before the effective date of the Plan, will be assumed under (and in accordance with)

the terms of the Plan. Any outstanding amounts owed under any assumed executory contract or



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unexpired lease will be paid or otherwise “cured” pursuant to section 365(b)(1) of the Bankruptcy

Code in accordance with the terms of the Plan.

                                       BASIS FOR RELIEF

I.     PAYMENT OF THE TRADE CLAIMS IS WARRANTED UNDER SECTION
       363(B)(1) OF THE BANKRUPTCY CODE

       19.     A bankruptcy court may authorize a debtor to pay certain prepetition obligations

pursuant to section 363(b) of the Bankruptcy Code. 11 U.S.C. § 363(b)(1). Section 363(b)(1)

authorizes courts, after notice and a hearing, to permit a debtor to “use, sell, or lease, other than in

the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1); see also In re

Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (“Section 363(b) gives the court

broad flexibility in tailoring its orders to meet a wide variety of circumstances.”). Courts in the

Fifth Circuit have granted a debtor’s request to use property of the estate outside of the ordinary

course of business upon a finding that such use is supported by sound business reasons. See, e.g.,

In re BNP Petrol. Corp., 642 F. App’x 429, 434-35 (5th Cir. 2016) (citing In re Cont’l Air Lines,

Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)) (“[F]or the debtor-in-possession or trustee to satisfy its

fiduciary duty to the debtor, creditors and equity holders, there must be some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business”).

       20.     It is a sound exercise of the Debtors’ business judgment to pay the Trade Claims as

they become due in the ordinary course of business because doing so will avoid value-destructive

business interruption and will not prejudice the Debtors’ other stakeholders. The Plan, which the

Consenting Term Lenders have agreed to support, provides for the full and uninterrupted payment

of such claims. The goods and services provided by Trade Creditors are necessary and critical for

the continued, uninterrupted operation of the Debtors’ businesses. The Debtors anticipate that

failure to pay the Trade Claims as they become due is likely to result in Trade Creditors refusing



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to provide essential goods and services, conditioning the delivery of such goods and services on

compliance with onerous and commercially unreasonable terms, or, in the case of Lienholders,

seeking to assert liens on the Debtors’ property.

       21.     In the event Trade Creditors decide to stop doing business with the Debtors, the

Debtors’ business could be materially disrupted, which would jeopardize the continued viability

of the Debtors’ business and these cases to the detriment of all of the Debtors’ stakeholders. In

addition, because the Trade Creditors are already familiar with the Debtors’ needs based on the

relationships that the Debtors have built with such vendors over time, the Trade Creditors are in

the best position to provide the necessary goods and services to the Debtors, and are the most likely

to do so on commercially reasonable terms. If certain of the Trade Creditors refuse to perform on

their obligations, the Debtors may find it very difficult (and in some cases impossible) to locate

replacement vendors necessary to support their operations, making it difficult for the Debtors to

maintain business operations. Lastly, even the Debtors are able obtain replacement goods and

services, doing so would likely cause substantial delay and significant costs.

       22.     Importantly, no party in interest will be prejudiced by the relief requested herein.

Trade Claims are unimpaired and will be paid in full under the Plan. The relief requested herein,

therefore, seeks to only alter the timing, not the amount or priority, of such payments.

Furthermore, paying the modest amount of Trade Claims—approximately 21% of the total funded

debt to be restructured in these cases—in the ordinary course is prudent when compared to the

amount the Debtors’ stakeholders stand to lose if the Debtors’ businesses were to be interrupted.

Accordingly, continued payment of the Trade Claims as provided herein is a sound exercise of the

Debtors’ business judgment, is necessary to avoid immediate and irreparable harm to the Debtors’




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estates, is in the best interests of the Debtors’ and their respective estates and creditors, and is

warranted under the circumstances.

        23.     Paying the Trade Creditors in the ordinary course of business further minimizes

disruption to the Debtors’ operations by ensuring that Trade Creditors agree to continue supplying

necessary goods and services to the Debtors postpetition under Customary Trade Terms.

Maintaining Customary Trade Terms allows the Debtors to avoid the inherent operational

inefficiencies of paying cash on demand and managing billing processes for numerous vendors

that require cash in advance or shorten their trade terms.

II.     ADDITIONAL BASES FOR PAYMENT OF TRADE CLAIMS

        A.      Certain Trade Claims are Administrative Expenses

        24.     Certain Trade Claims may be entitled to the statutory priority for goods delivered

to the Debtors in the ordinary course of business within 20 days before the Petition Date. Section

503(b)(9) of the Bankruptcy Code provides that such claims constitute administrative expenses of

the applicable Debtor’s estate. 11 U.S.C. § 503(b)(9). The Debtors would, therefore, be required

to pay such prepetition Trade Claims in full to confirm a plan of reorganization. See 11 U.S.C. §

1129(a)(9)(A). The Plan provides for payment in full of administrative expenses in the ordinary

course of business or, otherwise, on the effective date of the Plan, or as soon as practicable

thereafter.   Accordingly, payment of the prepetition Trade Claims that may be entitled to

administrative expense priority under section 503(b)(9) of the Bankruptcy Code will only change

the timing of the payment of such prepetition Trade Claims and not the amounts. See, e.g., In re

CEI Roofing, Inc., 315 B.R. 50, 60 (Bankr. N.D. Tex. 2004) (“[T]he payment of prepetition . . .

claims . . . that qualify as priority . . . claims . . . does not trigger the same concerns (i.e., upsetting

priorities under the Code and unfair discrimination among general unsecured claims)”). Thus,

allowing the relief requested herein with respect to these prepetition Trade Claims will not


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prejudice any creditors or parties in interest. Finally, authorizing the Debtors to pay Trade Claims

pursuant to the terms set forth herein should eliminate the burden on the Court and the Debtors

arising from numerous individual motions requesting payment on account of Inventory Goods

Vendor Claims. Accordingly, the Debtors seek authority to pay such claims in the ordinary course

of business to minimize disruptions to their operations and preserve the value of their estates.

       B.      Payment of Trade Claims is a Valid Exercise of the Debtors’ Fiduciary Duties

       25.     In addition, authority for payment of the Trade Claims may be found in sections

1107(a) and 1108 of the Bankruptcy Code. The Debtors, operating their businesses as debtors in

possession under sections 1107(a) and 1108 of the Bankruptcy Code, are fiduciaries “holding the

bankruptcy estate[s] and operating the business[es] for the benefit of [their] creditors and (if the

value justifies) equity owners.” In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002).

Implicit in the duties of a chapter 11 debtor in possession is the duty “to protect and preserve the

estate, including an operating business’s going-concern value.” Id.

       26.     The CoServ court has noted that there are instances in which a debtor in possession

can fulfill its fiduciary duty “only . . . by the preplan satisfaction of a prepetition claim.” Id.; see

also In re Mirant Corp., 296 B.R. 427, 429-30 (Bankr. N.D. Tex. 2003) (allowing debtors to pay

claims “reasonably believe[d]” to be authorized under the CoServ test or whose payment was

necessary “in the exercise of their business judgment . . . in order for [the] [d]ebtors to continue

their respective businesses”). The CoServ court specifically noted that preplan satisfaction of

prepetition claims would be a valid exercise of a debtor’s fiduciary duty when the payment “is the

only means to effect a substantial enhancement of the estate,” id. at 497, and also when the payment

was to “sole suppliers of a given product.” Id. at 498. The court provided a three-pronged test for

determining whether a preplan payment on account of a prepetition claim was a valid exercise of

a debtor’s fiduciary duty:


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               First, it must be critical that the debtor deal with the claimant.
               Second, unless it deals with the claimant, the debtor risks the
               probability of harm, or, alternatively, loss of economic advantage to
               the estate or the debtor’s going concern value, which is
               disproportionate to the amount of the claimant’s prepetition claim.
               Third, there is no practical or legal alternative by which the debtor
               can deal with the claimant other than by payment of the claim.

Id.

       27.     Payment of the Trade Claims meets each element of the CoServ court’s standard.

First, any further disruptions of the Debtors’ operations that result from non-payment of such

claims would cost the Debtors’ estates substantial amounts in lost revenues. The harm and

economic disadvantage that would stem from the Debtors’ failure to pay the Trade Claims are

grossly disproportionate to the amount of the prepetition claims that would have to be paid. In

addition, the Debtors have examined other options short of paying certain of the Trade Claims and

could not discern any practical or legal alternative other than paying such Trade Claims if

significant disruption of the Debtors’ business operations is to be avoided. And, in any event the

Lienholder Claims and those of the Inventory Goods Vendor Claims that would constitute claims

under section 503(b)(9) of the Bankruptcy Code must be paid in full, in cash, for the Debtors to

emerge from chapter 11. Therefore, the Debtors only can fulfill their fiduciary duties as debtors

in possession under sections 1107(a) and 1108 of the Bankruptcy Code by paying certain of the

Trade Creditors.

III.   CONFIRMATION    OF  ADMINISTRATIVE    EXPENSE   STATUS   OF
       PREPETITION PURCHASE ORDERS IS APPROPRIATE AND NECESSARY TO
       DEBTORS’ REORGANIZATION

       28.     Furthermore, as of the Petition Date, the Debtors have certain prepetition purchase

orders (the “Prepetition Purchase Orders”) outstanding with various third party vendors and

suppliers (the “Vendors”) for goods or services ordered by the Debtors that have not yet been

delivered or provided to the Debtors. These Vendors may be concerned that, because the Debtors’


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obligations under the Prepetition Purchase Orders arose before the Petition Date, such obligations

will be treated as general unsecured claims in these Chapter 11 Cases.             Accordingly, and

notwithstanding the Plan’s treatment of general unsecured claims, certain Vendors may refuse to

provide goods or services to the Debtors purchased pursuant to the Prepetition Purchase Orders

unless the Debtors issue substitute purchase orders postpetition or obtain an order of the Court

(i) confirming that all undisputed obligations of the Debtors arising from the postpetition delivery

of goods or services subject to Prepetition Purchase Orders are afforded administrative expense

priority status under section 503(b) of the Bankruptcy Code and (ii) authorizing the Debtors to

satisfy such obligations in the ordinary course of business.

       29.     It is necessary to the uninterrupted operation of the Debtors’ business that

obligations owed under the Prepetition Purchase Orders for goods or services delivered or provided

postpetition be explicitly granted administrative expense status. Pursuant to section 503(b)(1)(A)

of the Bankruptcy Code, obligations that arise in connection with the postpetition delivery of

necessary goods and services are afforded administrative expense priority status. See In re

Whistler Energy II, L.L.C., 931 F.3d 432, 440 (5th Cir. 2019) (noting that section 503(b)(1)(A) of

the Bankruptcy Code “grants priority status to certain necessary expenses incurred after the filing

of a bankruptcy petition that benefit the bankruptcy estate”). Thus, the granting of the relief

requested herein will not provide the Vendors with any greater priority than they otherwise would

have if the relief were not granted, and will not prejudice any other parties in interest.

IV.    NO PARTY WILL BE PREJUDICED BY THE RELIEF REQUESTED IN THIS
       MOTION

       30.     No party in interest will be prejudiced by the relief requested by this Motion

because the Trade Claims are unimpaired under the Plan and will be paid in full. Thus, the relief

requested herein seeks to alter only the timing, not the amount or priority, of such payments.



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Moreover, authority to pay the Trade Claims in the ordinary course of business is necessary to

avoid the risk of key vendors and service providers withholding essential services or refusing to

sell goods to the Debtors.

V.     THE COURT SHOULD AUTHORIZE BANKS TO HONOR AND PAY CHECKS
       ISSUED AND ELECTRONIC FUNDS TRANSFERRED TO PAY THE TRADE
       CLAIMS

       31.     The Debtors further request that the Court authorize, but not direct, their banking

institutions and all other applicable banks and other financial institutions to receive, process,

honor, and pay any and all checks drawn or electronic funds relating to the Trade Claims whether

such checks were presented before or after the Petition Date. The Debtors expect to have sufficient

liquidity to pay such amounts as they become due in the ordinary course of business, and under

the Debtors’ existing cash management system, checks or wire transfer requests can be readily

identified as relating to an authorized payment of the Trade Claims. As such, the Debtors believe

that checks or wire transfer requests, other than those relating to authorized payments, will not be

honored inadvertently. The Debtors also seek authority to issue new postpetition checks or effect

new electronic fund transfers on account of the Trade Claims to replace any prepetition checks or

electronic fund transfer requests that may be dishonored or rejected as a result of the

commencement of the Chapter 11 Cases.

                              EMERGENCY CONSIDERATION

       32.     The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Local Rule 9013-1(i), the Complex Case Procedures, and Bankruptcy Rule 6003,

which authorizes a court to grant relief within the first 21 days after the commencement of a

chapter 11 case “to the extent that relief is necessary to avoid immediate and irreparable harm.”

The Debtors believe that an immediate and orderly transition into chapter 11 is critical to the

viability of their operations and the success of the Chapter 11 Cases. As discussed in detail above,


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immediate and irreparable harm would result if the relief requested herein is not granted.

Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003, and the Debtors believe that emergency consideration is

necessary and respectfully request that this Motion be heard on an emergency basis.

                    WAIVER OF BANKRUPTCY RULE 6004(a) AND (h)

        33.     Additionally, with respect to any aspect of the relief sought herein that constitutes

a use of property under section 363(b) of the Bankruptcy Code, the Debtors seek a waiver of the

notice requirements under Bankruptcy Rule 6004(a), to the extent not otherwise satisfied, and of

the fourteen-day stay under Bankruptcy Rule 6004(h). As described above, the relief that the

Debtors seek in this Motion is immediately necessary for the Debtors to be able to continue to

operate their businesses and preserve the value of their estates. The Debtors thus submit that the

requested waiver of the notice requirements of Bankruptcy Rule 6004(a) and of the fourteen-day

stay imposed by Bankruptcy Rule 6004(h) is appropriate, as the exigent nature of the relief sought

herein justifies immediate unstayed relief.

                                  RESERVATION OF RIGHTS

        34.     Nothing in this Motion shall be deemed: (a) an implication or admission as to the

amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code or

other applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this Motion;

(e) a concession by the Debtors that any lien (contractual, common, statutory or otherwise)

satisfied pursuant to the Motion is valid (and all rights to contest the extent, validity, or perfection

or seek avoidance of all such liens are expressly reserved); (f) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;


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(g) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (h) a waiver of the obligation

of any party in interest to file a proof of claim; or (i) a waiver of any claims or causes of action

which may exist against any entity under the Bankruptcy Code or any other applicable law. If the

Court enters any order granting the relief sought herein, any payment made pursuant to such order

is not intended and should not be construed as an admission as to the validity of any particular

claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

       35.     Nothing in the Proposed Order or this Motion shall be construed to (a) create or

perfect, in favor of any person or entity, any interest in cash of any Debtor that did not exist as of

the Petition Date or (b) alter or impair any security interest or perfection thereof, in favor of any

person or entity, that existed as of the Petition Date.

       36.     Nothing in the Proposed Order or this Motion shall create, nor is intended to create,

any rights in favor of or enhance the status of any claim held by any party.

                                              NOTICE

       37.     Notice of the Motion will be given to: (a) the Office of the United States Trustee

for the Southern District of Texas; (b) counsel to the DIP Term Loan Agents; (c) counsel to the

DIP ABL Loan Agent; (d) counsel to the Ad Hoc Group and DIP Lenders; (e) counsel to the

Prepetition Term Loan Agent; (f) counsel to the Prepetition ABL Agent; (g) the creditors listed on

the Debtors’ consolidated list of thirty (30) creditors holding the largest unsecured claims; (h) the

United States Attorney for the Southern District of Texas; (i) the Internal Revenue Service; (j) the

Securities and Exchange Commission; (k) the state attorneys general for states in which the

Debtors conduct business; and (l) any party that has requested notice pursuant to Bankruptcy Rule

2002. The Debtors submit that, under the circumstances, no other or further notice is required.




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       38.      A copy of the Motion is available on (a) the Court’s website, at

www.txs.uscourts.gov, and (b) the website maintained by the Debtors’ proposed claims and

noticing     agent,   Kurtzman   Carson    Consultants,    LLC     d/b/a   Verita   Global,   at

https://www.veritaglobal.net/thecontainerstore.



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          WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

granting the relief requested in the Motion and such other and further relief as may be just and

proper.

Dated: December 23, 2024            Respectfully submitted,
       Houston, Texas
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                                    Proposed Co-Counsel for the Debtors
                                    and Debtors in Possession
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                              CERTIFICATE OF SERVICE

       I certify that on December 23, 2024, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas on those parties registered to receive electronic notices.


                                           /s/ Timothy A. (“Tad”) Davidson II
                                           Timothy A. (“Tad”) Davidson II
